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UNITED STATES DlSTRlCT COURT

CENTRAL DlSTRlCT OF CALIFORNIA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE SUNIMARY c=_ §
“ !QRH 00-]5_5,1 - t §
Case NumbeQ " "{_,<erfendant Number 1 § ;-:'_-
` ' ;o.< F- C:j
u.s.A. v. victoRiA cHAN Year of Birth 1982 3 v < -q
c 1 z
|:l lr\dictment lr\formation investigative agency (FBi, DEA, etc.) FBI end ii;isi w iv
NOTE: All items are to be completed. |nformation not applicable or unknown shall be indicated as " 2 tle
M$_EN_EM PREviousLY FlLED coMPLAiNT 1 ' § cr m
a' Offense merged 35 35 A complaint Was previously filed o : N/§,l m@
|:| C|ass A l\/lisdemeanor |:| l\/linor Offense |:| Petty Offense Case Number §
[:| C|ass B |\/lisdemeanor |:] Class C Misdemeanor Fe|ony Charging
b. Date of Offense 2008 TO 2017
c. County in which first offense occurred The complaint [:| is still pending
ORANGE and LOS ANGELES l:] Was dismissed on:
d. The crimes charged are alleged to have been committed in: M(M
Was defendant previously represented? |:] No Yes

CH ECK ALL THAT APPLY

Los Ange|es

Orange
[:] Riverside

San Bernardino

[:| Ventura

[:| Santa Barbara
|:| San Luis Obispo
:] Other

Citation of Offense 18 U.S.C. §§ 371, 1349, and

1956(a)(2)(A)

e. Division in Which_the l\/lAJORlTY of events, acts, or omissions
giving rise to the crime or crimes charged occurred: '

 

 

|:] Western (Los Angeles, San Luis Obispo, Santa Barbara, Ventura)

l:| Eastern (Riverside and San Bernardino) Southern (Orange)
RELATED CASE
Has an indictment or information involving this defendant and

the same transaction or series of transactions been previously

No [:] Yes

filed and dismissed before tria|?

IFYES Case Number

Pursuant to Genera| Order14-03, criminal cases may be related

 

ifa previously filed indictment or information and the present

case:

a. arise out ofthe same conspiracy, common scheme,
transaction, series oftransactions or events; or

b. involve one or more defendants in common, and Would
entail substantial duplication of labor in pretria|, trial or
sentencing proceedings if heard by differentjudges.

Related case(s), if any: MUST MATCH NOT|CE OF RELATED

cAsE N/A

 

 

lF YES, provide Name: DIANE C. BASS, ESQ.

949-494-701 l

 

Phone Number:
COMPLEX CASE

 

Are there 8 or more defendants in the |ndictment/|nformation?
]:] Yes* No

Wi|| more than 12 days be required to present government's
evidence in the case-in-chief?

[:| Yes* No

*AN OR|G|NAL ANDl COPY (UNLESS ELECTRON|CALLY FlLED)
OF THE NOT|CE OF COMPLEX CASE l\/lUST BE FlLED AT THE
EIME%LEB lNDlCTMENT lS FlLED lF E|THER "YES" BOX |S

Superseding lndictment/|nformation

|:] Yes

superseding charge,i.e.1st, 2nd.

lS THlS A NEW DEFENDANT?

This is the N/A
The superseding case Was previously filed on:

|:|No

 

Case Number

 

The superseded case:

|:l is still pending before Judge/Nlagistrate .ludge
N/A

 

[:l Was previously dismissed on
Are there 8 or more defendants in the superseding case?
:] Yes* [| No

Wi|| more than 12 days be required to present government's
evidence in the case-in-chief?
|:[ No

|:\ Yes*

 

 

CR-72 (08/16)

CASE SUMMARY

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UN|TED STATES DlSTRlCT COURT
CENTRAL DlSTRlCT OF CALlFORN|A

CASE SUN\MARY

 

Was a Notice of Comple)< Case filed on the lndictment or
lnformation?

l:| Yes [:| No

*AN OR|G|NAL AND 1 COPY OF THE NOTlCE OF COMPLEX CASE
l\/lUST BE FlLED AT THE TllVlE THE SUPERSEDING lNDlCTl\/lENT lS
FlLED |F ElTHER "YES" BOX |S CHECKED.

ls an interpreter required? [:l YES NO
lF YES, list language and/or dialect:

N/A

 

Q_`UiEB

|:| Male Female
U.S. Citizen |:] Alien

Alias Name(s)

 

 

This defendant is charged in: All counts

l:] On|y counts:

 

|:| This defendant is designated as "High Risl<“ per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[:| This defendant is designated as “Special Case" per

18 USC § 3166 (b)(7).
ls defendant ajuvenile? m Yes No
lF YES, should matter be sealed? I:] Y€S I:\ NO

The area of substantive law that Wi|| be involved in this case
includes:

[:] financial institution fraud |:| public corruption
government fraud [:| tax offenses
mail/Wire fraud

|:] immigration offenses

[:| environmental issues
|:] narcotics offenses
[:l violent crimes/firearms |:| corporate fraud

Other international PromotionalMoneyLaundering

 

 

CUSTGDY STATUS

Defendant is not in custody:
a. Date and time of arrest on complaint N/A

b. Posted bond at complaint level on:

in the amount Of$

 

c. PSA supervision? l:l YES NO
d. ls on bail or release from another district:

 

Defendant is in custody:

|:] State |:] Federal

a. Place of incarceration:

b. Name of lnstitution: N/A
c. lf Federal: U.S. l\/larshal’s Registration Number:

 

 

d, [:] Sole|y on this charge. Date and time of arrest:

 

N/A
e. On another conviction: [:] Yes [:| NO
|FYES; [:]State [:] Federal |:] Writ oflssue
f. Awaiting trial on other charges: i:| Yes |:\ NO
lFYESf |:] State m Federal AND

Name of Court:

 

Date transferred to federal custody:

This person/proceeding is transferred from another district
pursuant to F.R.Cr.P. 20 21 40

 

EXCLUDABLE TllVlE

Determinations as to excludable time prior to filing indictment/information EXPLA|N:

 

 

Date 11/03/2017

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/ \.l/ ©e»V
Sig nature of Assistant U.S`.`r`£\ttomey
CH/-\RLES E. PELL
Print Name

 

 

 

CR-72 (08/16)

CASE SUMMARY

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